         Case 1:17-cr-00061-DAK Document 14 Filed 02/14/18 Page 1 of 7



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                       INTHE UNITED STATES DISTRICT COURT
                      DISTRICT OF UTAH, NORTHERN DIVISION

  UNITED STATES OF AMERICA,                       Case No. 1:17-cr-00061

         Plaintiff,                               STATEMENT BY DEFENDANT IN
                                                  ADVANCE OF PLEA OF GUILTY
         vs.                                      AND PLEA AGREEMENT

  DANIEL SCOTT FRISCHKNECHT,
                                                  Judge Dale A. Kimball
         Defendant.


        I hereby acknowledge and certify that I have been advised of and that I understand
the following facts and rights, and that I have had the assistance of counsel in reviewing,
explaining, and entering into this agreement:

       1.     As part of this agreement with the United States, I intend to plead guilty to
Count 1 of the Felony Information. My attorney has explained the nature of the charge
against me, and I have had an opportunity to discuss the nature of the charge with my
attorney. I understand the charge and what the United States is required to prove in order
to convict me. The elements of Count 1, Money Laundering are:

               (1) That the Defendant engaged in a monetary transaction of more than
                   $10,000

               (2) By, through, or to a financial institution

               (3) Affecting interstate commerce,

               (4) With the knowledge that the money had been derived from a
                   specifically unlawful activity
         Case 1:17-cr-00061-DAK Document 14 Filed 02/14/18 Page 2 of 7



        2.      I know that the maximum possible penalty provided by law for Count 1 of
 the Felony Information, a violation of 18 U.S.C. § 1957 is a term of imprisonment of up
 to 10 years, a fine of $250,000 a term of supervised release of up to 3 years, and any
 applicable forfeiture. I understand that if I violate a term or condition of supervised
 release, I can be returned to prison for the length of time provided in 18 U.S.C. §
 3583(e)(3).

          a. Additionally, I know the Court is required to impose an assessment in the
amount of $100 for each offense of conviction, pursuant to 18 U.S.C. § 3013.
Furthermore, restitution to the victim of my offense shall be ordered pursuant to 18
U.S.C. § 3663A.

            b. I understand that, if I am not a United States citizen, I may be removed
from the United States, denied citizenship, and denied admission to the United States in
the future.

        3.     I know that the sentencing procedures in this case and the ultimate sentence
will be determined pursuant to 18 U.S.C. § 3553(a), and that the Court must consider, but
is not bound by, the United States Sentencing Guidelines, in determining my sentence. I
have discussed these procedures with my attorney. I also know that the final calculation
of my sentence by the Court may differ from any calculation the United States, my
attorney, or I may have made, and I will not be able to withdraw my plea if this occurs.

       4.     I know that I can be represented by an attorney at every stage of the
proceeding, and I know that if I cannot afford an attorney, one will be appointed to
represent me.

      5.     I know that I have a right to plead "Not Guilty" or maintain my earlier plea
of "Not Guilty" and can have a trial on the charges against me.

       6.       I know that I have a right to a trial by jury, and I know that if I stand trial
by a jury:

             a. I have a right to the assistance of counsel at every stage of the proceeding.

             b. I have a right to see and observe the witnesses who testify against me.

             c. My attorney can cross-examine all witnesses who testify against me.

           d. I can call witnesses to testify at trial, and I can obtain subpoenas to require
the attendance and testimony of those witnesses. If I cannot afford to pay for the
appearance of a witness and mileage fees, the United States will pay them.

             e. I cannot be forced to incriminate myself, and I do not have to testify at any
trial.

                                                 2
            Case 1:17-cr-00061-DAK Document 14 Filed 02/14/18 Page 3 of 7



         f. If I do not want to testify, the jury will be told that no inference adverse to
me may be drawn from my election not to testify.

          g. The United States must prove each and every element of the offense
charged against me beyond a reasonable doubt.

             h. It requires a unanimous verdict of a jury to convict me.

          i. If I were to be convicted, I could appeal, and if I could not afford to appeal,
the United States would pay the costs of the appeal, including the services of appointed
counsel.

       7.       If I plead guilty, I will not have a trial of any kind.

        8.     I know that 18 U.S.C. § 3742(a) sets forth the circumstances under which I
may appeal my sentence. However, fully understanding my right to appeal my sentence,
and in consideration of the concessions and/or commitments made by the United States in
this plea agreement, I knowingly,' voluntarily and expressly waive my rightto appeal as
set forth in paragraph 12 below.

      9.      I know that 18 U.S.C. § 3742(b) sets forth the circumstances under which
the United States may appeal my sentence.

       10.    I know that under a plea of guilty the judge may ask me que·stions under
oath about the offense. The questions, if asked on the record and in the presence of
counsel, must be answered truthfully and, if I give false answers, I can be prosecuted for
perjury.

      11.   I stipulate and agree that the following facts accurately describe my
conduct. These facts provide a basis for the Court to accept my guilty plea:

               I embezzled a total of $565,591.41 from a financial institution, Zions Bank,
               where I had been employed as the manager of the Bountiful, Utah branch. I
               did this by transferring $70,000 on February 9, 2017 and $495,591.41 on
               May 8, 2017, using a third party (a Zion's Bank customer's) line ofcredit.
               I concealed the second transaction with a general ledger entry and deposited
               the money in my personal Mountain American Credit Union account for
               personal use. Specifically, I caused $495,591.41 to be wired to a title
               company for the purchase of a new home for myself, knowing that I
               derived the money from wire fraud. I agree that such monetary transactions
               affect interstate commerce.




                                                 3
         Case 1:17-cr-00061-DAK Document 14 Filed 02/14/18 Page 4 of 7



      12.   The only terms and conditions pertaining to this plea agreement between
me and the United States are as follows:

           a. Guilty Plea. I will plead guilty to Count 1 of the Felony Information.

           b. Relevant Conduct. The United States agrees not to charge the underlying
offense of wire fraud. The United States also agrees not to seek indictment against me
for any other type of offense of which the United States Attorney's Office for the District
of Utah is aware at this time. I understand and agree that the Presentence Report may
include descriptions of conduct I engaged in which either was not charged against me,
will not be pleaded to by me, or both. I understand and agree that the Court may take
these facts into consideration in sentencing.

              c. Acceptance of Responsibility. The United States agrees to recommend
that my offense level under the U.S. Sentencing Guidelines be decreased by two levels
for acceptance of responsibility pursuant to Sentencing Guideline § 3E1.1 (a) if, in the
opinion of the United States, I clearly demonstrate acceptance of responsibility for my
offense, up to and including at the time of sentencing, as set forth in § 3E 1.1 of the
Sentencing Guidelines. In addition, the United States agrees to move for an additional
one-level reduction in the offense level, in accordance with Sentencing Guideline §
3E 1.1 (b ), if I qualify for a two-level reduction under § 3E 1.1 (a) and the offense level is
16 or greater prior to receiving the two-level reduction.

           d. Low-End Recommendation. The United States agrees to recommend at
sentencing that I be sentenced at the low-end of the Sentencing Guideline range
determined by the Court. The United States' agreement is based on the facts and
circumstances currently known to the United States. If additional facts regarding my              ·~-'I

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history and characteristics or the nature and circumstances of my conduct are discovered
prior to sentencing, the United States reserves the right to reconsider this                          !
recommendation. I understand that the Court is not bound by the United States'
recommendation.

          e. Employment Ban. Defendant agrees that until he is terminated from
supervised release or probation, he will not be employed by or seek employment with a
bank, credit union, or other entity that is insured by the FDIC. Defendant agrees to
cooperate with the U.S. Treasury Department regarding any action taken pursuant to 12
U;S.C. § 1818.
           f. Appeal Waiver.

              (1)   Fully understanding my limited right to appeal my sentence, as
explained above in paragraph 8, and in consideration of the concessions and/or
commitments ma:de by the United States in this plea agreement, I knowingly, voluntarily,
and expressly waive my right to appeal any sentence imposed upon me, and the manner


                                                4
         Case 1:17-cr-00061-DAK Document 14 Filed 02/14/18 Page 5 of 7



in which the sentence is detennined, on any of the grounds set forth in 18 U.S.C. § 3742
or on any ground whatever, except I do not waive my right to appeal (1) a sentence above
the maximum penalty provided in the statute of conviction as set forth in paragraph 2
above; and (2) a sentence above the high-end of the guideline range as determined by the
district court at sentencing, or, in the event that no such determination is made by the
district court, a sentence above the high-end of the guideline tange as set forth in the final
presentence report.

               (2)   I also knowingly, voluntarily, and expressly waive my right to
challenge my sentence, and the manner in which the sentence is determined, in any
collateral review motion, writ or other procedure, including but not limited to a motion
brought under 28 U.S.C. § 2255, except on the issue of ineffective assistance of counsel.

                 (3)    I understand that this waiver 'of my appeal and collateral review
rights concerning my sentence shall not affect the United States' right to appeal my
sentence pursuant tol8 U.S.C. § 3742(b). However, I understand that the United States
agrees that: if it appeals my sentence, I am released from my waiver.

              (4)    I further understand and agree that the word "sentence" appearing
throughout this waiver provision is being used broadly and applies to all aspects of the
Court's sentencing authority, including, but not limited to: (1) sentencing
determinations; (2) the imposition of imprisonment, fines, supervised release, probation,
and any specific terms and conditions thereof; and (3) any orders of restitution.

           g. Presentence Report and Financial Information. I agree to provide
truthful and complete information, including financial information, as requested by the
probation office for the preparation of my presentence report and for determination of the
conditions of my supervised release. I also consent to allowing the United States
Attorney's Office to run a credit check on me. I consent to being placed on the Treasury
Offset Program and State Finder.

                (1)    Restitution. I agree that I am subject to mandatory restitution
because my case falls within the provisions of 18 U.S.C. § 3663A(a)(l) and (c)(l) based
on the charge to which I am pleading guilty. My attorney has explained what mandatory
restitution means. I also agree to pay restitution to victims of unpled or uncharged
relevant conduct pursuant to 18 U.S.C. § 3663A(a)(3). The Parties agree that the amount
of restitution to be ordered is $565,591.41. The Parties agree that Mr. Frischknecht
voluntarily paid restitution in full prior to the filing of the Criminal Information.

        13.     I understand and agree that this plea agreement is solely between me and
the United States Attorney for the District of Utah and does not bind any other federal,
state, or local prosecuting, administrative, or regulatory authorities.



                                              5
              Case 1:17-cr-00061-DAK Document 14 Filed 02/14/18 Page 6 of 7



      14.   I understand that I have a right to ask the Court any questions I wish to ask
concerning my rights about these proceedings and the plea.

                                      *     *          *      *
         I make the following representations to the Court:

         1.       I am    S]   years of age. My education consists of      9Jm-e.-   Co#ej -C
 I       Ca Vl           [can/cannot] read and understand English.

       2.     This Statement in Advance contains all terms of the agreements between
 me and the United States; if there are exceptions, the Court will be specifically advised,
 on the record, at the time of my guilty plea of the additional terms. I understand the
 United States and I cannot have terms of this plea agreement that are not disclosed to
 the Court.

      3.     No one has made threats, promises, or representations to me that have
 caused me to plead guilty, other than the provisions set forth in this agreement.

      4.    Neither my attorney nor the United States has promised me that I would
receive probation or any other form of leniency because of my plea.

      5.    I have discussed this case and this plea with my lawyer as much as I wish,
and I have no additional questions.

         6.       I am satisfied with my lawyer.

      7.     My decision to enter this plea was made after full and careful thought; with
the advice of counsel; and with a full understanding of my rights, the facts and
circumstances of the case and the consequences of the plea. I was not under the
influence of any drugs, medication, or intoxicants when I made the decision to enter the
plea, and I am not now under the influence of any drugs, medication, or intoxicants.
     !                           .


         8.       I have no mental reservations concerning the plea.

      9.     I understand and agree to all of the above. I know that I am free to change
or delete anything contained in this statement. I do not wish to make changes to this
agreement because I agree with the terms and all of the statements are correct.

         DATEDthis         /~yof f                                7£:)(/



                                                           Defendant
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         Case 1:17-cr-00061-DAK Document 14 Filed 02/14/18 Page 7 of 7



       I certify that I have discussed this plea agreement with the defendant, that I have
fully explained his [her] rights to him [her], and that I have assisted him [her] in
completing this written agreement. I believe that he [she] is knowingly and voluntarily
entering the plea with full knowledge of his [her] legal rights and that there is a factual
basis for the plea.
.                         kV\
       DATED this     ) lj<---day of   fflowy            20/fi

                                                  ~~/
                                                  N   THANNE~
                                                  Attorney for Defendant




       I represent that all terms of the plea agreement between the defendant and the
United States have been, or will be at the plea hearing, disclosed to the Court, and there
are no undisclosed agreements between the defendant and the United States.

       DATED this    ll\ \-h day of1-eb'f \A(A,\U
                                                   I
                                                  JOHN W. HUBER
                                                  United States Attorney




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                                                  JACOB J. STRAIN
                                                  Assistant United States Attorneys




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